Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 1 of 26

THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER, et al.,

Plaintiffs, Case No. 04-CV-2688

(Hon. Judge Jones)
Vv.

DOVER AREA SCHOOL DISTRICT and

DEFENDANTS PROPOSED
DOVER AREA SCHOOL DISTRICT FINDINGS OF FACT
BOARD OF DIRECTORS, AND CONCLUSIONS OF
LAW

Defendants.

 

PART THREE
243.

244.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 2 of 26

There was a confusion in use of terms at various times by members of the
public and Buckingham during the June 2004 period. Some deliberately
equated ID with Creationism; others appeared to have done so
inadvertently. The weight of the evidence shows that the mere fact that the
term Creationism was raised and discussed at public meeting fails to show
that board members actually considered a curriculum change involving the
presentation of Creationism during this period. The weight of the evidence
shows that board members were considering a curriculum change relating to
ID, not Creationism.

Buckingham’s use of the term Creationism fails to prove that he actually
sought to secure the teaching of Creationism in the classroom. All of the
information he provided to the Administration related to scientific critiques
of Evolutionary Theory (“ET’’) and scientific critiques of the Miller &

Levine text, Biology, recommended for purchase by the science faculty.
245.

246.

247.

248.

249,

250.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 3 of 26

Issues with Reporting on the June 2004 Board Meetings.

Bonsell believed reporting of the June board meetings was inaccurate, and
that this inaccuracy was part of a larger problem with inaccurate newspaper
coverage; problems with accuracy in reporting continued despite Bonsell’s
request for accuracy/corrections. v. 32 (Bonsell); p. 93:21—p. 99:19; v. 34
(Harkins): p. 74:15—76:19.

Harkins had spoken with reporters about inaccuracies. v. 34 (Harkins); p.
76:21—p. 77:16.

Cleaver did not get or read the local papers because the reporting was so
biased and inaccurate. v. 32 (Cleaver); p. 17:14—p. 19:6.

One of the inaccuracies in the press reporting on board meetings was that
the reporters were referring to ID as Creationism. v. 32 (Bonsell); p.
95:14-21.

Miller remembers Bonsell saying that papers should stick to reporting facts.
v. 13 (Miller); p. 28:6—-12.

During this period board members did complain about inaccurate press
coverage~as it relates to this dispute their complaints related to the assertion
that the board was discussing a curriculum change that would require the

teaching of Creationism.

52
251.

252.

253.

254.

255.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 4 of 26

BCC Meeting June 24, 2004.

Baksa, after meeting with Buckingham, set up a meeting with the BCC and
science faculty to address Buckingham’s concerns, the meeting was held on
June 24, 2004, and Baksa took notes. v. 26 (Baksa); p. 115:17-118:8; D 19
& 20.

Meeting was attended by Harkins, Casey Brown, Buckingham, Baksa,
Spahr, and Miller. Bonsell did not attend BCC meetings in June 2004. v.
32 (Bonsell); p. 108:5-11.

Prior to this BCC meeting, Baksa had collected information about text used
by parochial schools and homeschoolers; he did so because he realized that
science teachers at Dover would already have reviewed the text commonly
provided to public schools.. v. 26 (Baksa); p. 117:1—p. 119:1.D19& DS.
Baksa looked at texts for parochial and homeschools because he realized
that science teachers at Dover would already have reviewed the text
commonly provided to public schools and he as looking for other texts. v.
26 (Baksa); p. 125:24-126:7. Science teachers had reviewed a number of
texts prior to this meeting. v. 13 (Miller); p. 28:4—p. 29:6.

The text used by homeschoolers was put out by Bob Jones University text

and was not discussed at the 6/24/04 BCC meeting because its religious

53
256.

257.

258.

259,

260.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 5 of 26

content made it unsuitable for use in a public school. v. 26:124:25—-p.
125:10. Miller remembers Baksa saying that this text was obviously
inappropriate. v. 13 (Miller); p. 27:8-19.

At this June meeting of the BCC, teachers stated that they did not teach
origins of life; and teachers indicated that if the issue was raised by a

student, then they told students to talk to their parents, family, pastors. v.

When teachers said that they did not teach origins of life, Buckingham
expressed his belief that teachers were addressing origins of life. v. 26
(Baksa); p. 121:6-18. He based this belief in part on a classroom mural
depicting the ascent of man. v. 13 (Miller); p. 20:22-7: v. 26 (Baksa); p.
118:3—p. 119:17; v. 30 (Buckingham); p. 60:7—p. 62:5.

In response to Buckingham’s reference to the mural, Miller explained again
that teachers did not teach origins of life. v. 14 (Spahr); p. 16:3—7.

At this meeting teachers agreed to point out the Darwin’s theory is not a fact
and that some parts of Darwin’s theory do not have as much evidence as
others. v. 13 (Miller); p. 21:24—p. 22:11.

At the 6/24/04 meeting teachers agreed to review the Icons of Evolution

video provided by Buckingham again, and consider using the material if it

54
261.

262.

263,

264.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 6 of 26

lined up with content they taught. v. 26 (Baksa); p. 121:22—p. 122:5; v. 14
(Spahr); p. 16:8—20,

Teachers agreed to make students aware of gaps and problems in Darwin’s
theory, something that they had always done, and which would be put in the
curriculum language. v. 13 (Miller); p. 22:9-21; v. 14 (Spahr); p. 16:8—p.
17:11.

Baksa believed that the teachers also agreed that they would make students
aware of Intelligent Design in response to his suggestion that they mention
ID instead of Creationism. v. 26 (Baksa); p. 122:10—15; p. 123:7—p. 124:11;
D 19 & 20. When Baksa made this suggestion he believed it would have no
impact on what teachers taught and assessed in the classroom. v. 36
(Baksa); p. 39:24—p. 41:4.

At the end of this meeting Buckingham agreed to support approval of the
Miller & Levine text, and the Miller & Levine text was placed on the
agenda for the board meeting to be held in July, 2004. v. 26 (Baksa); p.
124:2—24; D 21.

The June meeting of BCC and teachers ended on good terms. v. 13

(Miller); p. 21:8—17.

55
265,

266.

267.

268,

269.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 7 of 26

July, 2004, Board Meeting.

Up through July 12, 2004 Buckingham had never used the term Creationism
in his discussions with Baksa. v. 31 (Baksa): p. 208:1—5.

Up through July 12, 2004, no other board member had discussed the
teaching of Creationism with Baksa in classes at Dover. v. 31 (Baksa); p.
208:6~9.

At some point prior to July 12, 2004 Buckingham had used the term
Creationism at a board meeting and Baksa was surprised because he had not
heard Buckingham use this term before v. 31 (Baksa); p. 208:10—p. 209:14.
During this period Plaintiff Barrie Callaghan called Baksa asking him about
a text which addressed Creationism. v. 31 (Baksa); p. 208:10—p. 209:14.
Later Plaintiff Barrie Callaghan called Baksa about a text addressing
Creationism and Baksa told het that he was not going to find a text that has
Creationism for teaching in the public schools—and Baksa was not looking
for a text that included Creationism. v. 31 (Baksa); p. 208:15—209:5.

The approval of Miller & Levine text, 2002 was placed on board Agenda
for the July 2004 meeting. D. 22; v. 24 (Nilsen); p. 53:18--p. 54:4; v. 26

(Baksa); p. 126:13-127:13.

56
271.

272.

273.

274,

275.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 8 of 26

Approval of the text requested by faculty was placed on agenda because
Baksa understood that Buckingham’s concerns had been addressed. v. 24
(Nilsen); p. 54:5--12.

The Purchase of the 2002 edition of Miller and Levine was not approved
because the faculty learned that there was a more recent edition of Biology
by Miller & Levine, a 2004 edition, and the faculty requested delay while
the new edition was considered. D. 23; v. 24 (Nilsen); p. 53:13--p. 55:2; v.
26 (Baksa); p. 127:14—p. 128:9; v. 32 (Bonsell); p. 198:12—p. 109:18: v. 34
(Harkins); p. 50:7-15; v. 14 (Spahr); p. 20:23~p. 22:2.

Bonsell did not attend any meetings of the BCC in July. v. 32 (Bonsell); p.
109:19—p. 110:9.

July 2004 Meeting of Administration and Science Faculty to Review
2004 Edition of Biology, by Miller & Levine, 2004 Ed., in Light of
Complaints by Buckingham.

Baksa, biology teacher Jen Miller, and Bert Spahr, the Science Department
Chair, examined the new (2004 edition) of the biology text recommended by
the faculty in ight of Buckingham’ complaints about the 2002 edition. v.
24 (Nilsen); p. 55:19--56:2.

Although Nilsen was not apprised of the specific nature of Buckingham’s

concerns, he recalls Baksa, Miller and Spahr thinking that the 2004 edition

57
276.

277.

278.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 9 of 26

of the text would be acceptable to Buckingham precisely because it seemed
to acknowledge—and address—so many of his concerns by revised language.
v. 24 (Nilsen); p. 56:3--57:8.

As a result of the review and comparison of the 2002 and 2004 editions of
Biology by Miller & Levine, Baksa believed that the 2004 edition had
addressed many of Buckingham’s concerns including: (1) a softening of
language concerning evidence for a species to species change; (2) language
that talked about gaps and a new section dealing with strengths and
weaknesses of evolution. v. 31 (Baksa); p. 210:2—p. 211:24; D 24; v. 36
(Baksa); p. 42:20—p. 43:8; v. 13 (Miller); p. 30:10—p. 31:3.

Baksa did not meet with the BCC as a whole to discuss the 2004 edition but
he did meet with Buckingham to bring the information gathered by the
science teachers to Buckingham’s attention, Buckingham took the
information and the new edition of Miller & Levine for review. v. 31
(Baksa); p. 211:16—212:18.

Later Buckingham called and indicated he still could not approve the book.

v. 31 (Baksa); p. 212:14-24.

58
279,

280.

281.

282.

283.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 10 of 26

The Miller & Levine text was placed on the board agenda for the August
2004 board meeting despite the objections of Buckingham. v. 31 (Baksa);
p. 212:21-p. 213:21. D 25.

The 2004 edition of Biology by Miller & Levine, was placed on the agenda

understanding the text would be purchased. D. 28; Nilsen p. 57:3--p. 58:7.
Buckingham’s Request for Approval of the of Pandas and People Text.
Buckingham mentioned the text Of Pandas to the administration in the
June/July 2004 period. v. 24 (Nilsen); p. 53:9--17.

Buckingham brought the text to the attention of the Administration via a
memo indicating he wanted Of Pandas approved as a text before approval of
the 2004 edition of Biology, by Miller & Levine. v. 24 (Nilsen); p. 58:13--
p. 59:5; v.31 (Baksa); p. 213:22—p. p. 214:8; D 26.
Harkins remembers Buckingham bringing the text up in connection with the
board meeting held in July 2004; Buckingham brought a text but did not
have copies to pass out for review. v. 34 (Harkins); p. 50:16—p. 51:7. Prior
to this mention of the book Harkins had never heard of it-she had never

discussed it with Buckingham or Bonsell. v. 34 (Harkins); p. 53:11—p. 54:4.

59
Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 11 of 26

284. Spahr first saw Of Pandas at the meeting in July 2004 where the 2002 &
2004 editions of Biology by Miller and Levine were compared, when Of
Pandas was given to Jen Miller to review. v. 14 (Spahr); p. 22:14-p. 23:2.

285. Later Spahr reviewed the text, she learned that college professors were
using it; she did not think it was appropriate for use in 9" grade given
vocabulary and complexity of material presented. v. 14 (Spahr); p. 22:17-p.
23:20.

286. Harkins remembers getting a copy from Baksa, reviewing it quickly because
Jeff Brown wanted a copy for review, and then passing her copy on to Jeff
Brown for review. v. 34 (Harkins); p. 51:8-21. Harkins reviewed Of
Pandas for about 1 ’2 or 2 hours. She reviewed the Miller & Levine text for
about six hours. v. 34 (Harkins); p. 54:25-p. 54:16.

287. Later Harkins came to know that Jeff Brown viewed Of Pandas as offensive
to his religious convictions. v. 34 (Harkins); p. 52:6-17. Harkins did not
agree with Brown because she did not see religion in the book it looked like |
science to her; and Harkins did not believe that the text addressed
Creationism or was religious. v. 34 (Harkins); p. 52:6-p. 53:2.

288. When Jeff Brown expressed reservations about any use of Of Pandas

because Buckingham had poisoned the well, Harkins told Brown that

60
289,

290.

291.

292.

293.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 12 of 26

Buckingham was not the board, echoing the point Brown had made to Max
Pell when the biology text was discussed at board meetings in 2004. v. 8
(Jeff Brown); p. 91:10—p. 92:22.

Jen Miller remembers receiving Of Pandas around this time and, in August,
a mecting of the BCC focused on Of Pandas at which she brought some
reservations about the readability and science to attention of board
members. v. 13 (Miller); p. 30:2—p. 32:17.

As a result of Buckingham’s request re: Of Pandas, Nilsen set up a meeting
with Nilsen, Baksa, and Buckingham. v. 24 (Nilsen); p. 59:6—11; v. 31
(Baksa); p. 214:1—p. 215:1.

Nilsen’s purpose was to inform Buckingham that Nilsen would not approve
the Of Pandas text. v.24 (Nilsen); p. 59; 12--24.

Buckingham wanted of Pandas approved as a companion text to the basal
text; and he wanted teachers teaching out of both, side-by-side; but Nilsen
refused that request. v. 24 (Nilsen); p. 60:8--18; v. 31 (Baksa); p.
215:3-—15.

Under Pennsylvania law, the Superintendent’s decision not to approve the

text meant that Buckingham would need six votes to approve it; and in light

61
294.

295.

296.

297.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 13 of 26

of Nilsen’s position, Buckingham agreed to approve the biology text
recommended by the science faculty. v. 24 (Nilsen); p. 59:21--24;

Nilsen discussed the possibility of using the text as a reference text. v. 24
(Nilsen); p. 60:19--23; v.31 (Baksa): p. 215:18—25.

Nilsen refused to delay approval of the basal text pending approval of Of
Pandas. v. 24 (Nilsen); p. 60:24--p. 61:2. Instead, Nilsen said that he
would allow the teachers to review Of Pandas to see if it could be used as a
reference. v. 24 (Nilsen); p. 61:3--13; v. 31 (Baksa); p. 216:1-23.
Buckingham agreed to approve the text recommended by the science
faculty. v. 24 (Nilsen): p. 61:14--21; v. 31 (Baksa); p. 216:1—10.

Nilsen told Bonsell that Buckingham had agreed to approve the text, and
Bonsell was pleased with this news. v. 24 (Nilsen); p. 61:22--p. 62:24.
Bonsell wanted the text recommended by the faculty to be purchased. v. 24
(Nilsen); p. 62:1--p. 63:11. Bonsell did not want Of Pandas placed on the
agenda for the August 2004 meeting. v. 24 (Nilsen); p. 64:2--17. Bonsell
did not support Buckingham’s desire to hold to purchase Of Pandas along
with Biology by Miller & Levine. v. 24 (Nilsen); p. 63:12--15; v. 24

(Nilsen); p. 64:18--p. 65:10. Bonsell was pleased when he learned that
298,

299.

300.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 14 of 26

Buckingham had agreed to approve the text recommended by the science
faculty. v. 24 (Nilsen); p. 64:18--p. 65:10.

After the meeting with Buckingham, Nilsen sent a memo setting a meeting
of the BCC for August 27, 2004 so that BCC members, faculty and
administration could consider Of Pandas and its possible use in connection
with the curriculum. D 30; v. 24 (Nilsen); p. 68:9—p. 69:16; v. 31: p.
216:24—p. 218:6.

The first Bonsell had heard of the text Of Pandas was when Nilsen called
him to tell Bonsell about Buckingham’s desire to link approval of the basal
text recommended by the teachers with Of Pandas; Bonsell called
Buckingham to make sure that Buckingham was on board for approval of
the Miller & Levine text at the August board meeting. v. 32 (Bonsell); p.
110:4—p. 111:24.

August, 2004 Board Meeting.

Pursuant to Nilsen’s agreement with Buckingham, approval of the biology
text recommended by the science faculty was placed on the agenda for the
school board meeting held on August 2, 2004—but Of Pandas was not--
because Nilsen refused to approve Of Pandas. D. 28 at 116: v. 24 (Nilsen):

p. 65:1 1--p. 66:5.
301.

303.

304,

306.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 15 of 26

Geesey remembers Buckingham being upset that Of Pandas was not on the
agenda because he wanted both books together to balance each other out. v.
31 (Geesey); p. 164:16—p. 165:9.

When the vote on approval of the Miller & Levine text came up, there was a
4--4 tie on approval of the text. v. 24 (Nilsen); p. 66:6--22:

Bonsell understood Buckingham’s vote as trying to tie approval of Miller &
Levine to approval of Of Pandas; Bonsell did not vote with Buckingham
because he wanted the students to have the books recommended by the
faculty. v.32 (Bonsell); p. 112:22—p. 114:11.

At the time of the August 2, 2004 board meeting, Bonsell believed he did
not know enough about Of Pandas, which he had just heard of, to make a
judgment about the text. v. 32 (Bonsell); p. 114:12-18.

Bonsell refused to capitulate to Buckingham’s effort to link approval of the
text Of Pandas to approval of the Miller & Levine text and any use of
taxpayer funds to purchase the book. v. 8 (Jeff Brown); p. 89:6-19.
Harkins voted the same way as Buckingham but she had not spoken with
Buckingham before the vote. v. 34 (Harkins); p. 54:17—p. 55:6. Harkins

had not spoken with Geesey about the way she was going to vote. v. 34

64
307.

308.

309.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 16 of 26

(Harkins); p. 55:24—p. 56:1. Harkins had not spoken with Angie Yingling
prior to the first vote. v. 34 (Harkins); p. 56:3—S.

Harkins was voting against the biology book simply because she felt that
there was not enough money left to purchase the text; she was not voting
with Buckingham to link approval of the science text recommended by the
faculty with approval of Of Pandas. v. 34 (Harkins); p. 55:7-23. Harkins
felt that the biology books should have been purchased instead of the family
and consumer science books given the amount of money available and that
the biology texts were not that old and that the teachers could wait one more
year for the books. v. 34 (Harkins); p. 56:14-p. 57:8.

Geesey voted against approval of the text recommended by the science
faculty because she thought there were issues that needed to be worked out:
her intent was not to deny approval of the text recommended by the faculty
at any time but simply to hold off on approval of that text to see if things
could be worked out. v. 31 (Geesey); p. 165:10—p. 166:3.

Buckingham never intended to permanently prevent the purchase of the
biology text recommended by the science faculty. v. 30 (Buckingham); p.

63:15-19.
311.

312.

313.

314.

316.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 17 of 26

There was heated discussion and Jeff Brown, Bonsell and other board
members were upset. v. 32 (Bonsell); p. 114:19—p. 115:7; v. 34 (Harkins); p.
56:8--13;

Nilsen then directed comments to board members voting against approval of
the text, indicating that the text needed to be approved. v. 24 (Nilsen); p.
66:22--p. 67:14.

At this point, board member Angic Yingling requested a revote and.
ultimately, the text recommended by the science faculty was approved. v.
24 (Nilsen); p. 67:15--24; v. 32 (Bonsell); p. 114:19—p. 115:10; v. 31
(Geesey); p. 166:4-19. Joint Stipulations 4 & 15.

At no point in this process of approving the Miller & Levine text was there
any discussion of Creationism. v. 24 (Nilsen); p. 67:20--p. 68:8.

August 27, 2004 Meeting of BCC Regarding of Pandas.

As per Nilsen’s memo, a meeting of the BCC was held on August 27, 2004
to discuss Of Pandas with the science teachers. v. 24 (Nilsen); p. 69:17-19.
Bonsell attended this meeting of the BCC, unlike prior meetings for the
purpose of building consensus. v. 32 (Bonsell); p. 115:11—p. 116:18.

The meeting was attended by BCC members Buckingham, Carol (“Casey)

Brown, Sheila Harkins, Alan Bonsell; science faculty Jen Miller and Bert

66
319.

320.

321.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 18 of 26

Spahr; and administrators Nilsen and Baksa. v. 24 (Nilsen); p. 69:20-24; v.
32 (Bonsell); p. 116:19—p. 117:7.

Baksa took notes on the meeting. v. 31 (Baksa); p. 218:1-17; D 31.
Buckingham took the position that he wanted Of Pandas to used as a text
book in conjunction with the Miller & Levine text. v. 24 (Nilsen); p.
71:6-13; v. 32 (Bonsell); p. 117:8—12; v. 13 (Miller); p. 35:3-21; v. 14
(Spahr); p. 24:1-10.

Buckingham also indicated that he wanted the text purchased with public
funds, some board members seemed open to this, others opposed it, but
there was no decision. v. 24 (Nilsen); p. 71:14—20; v. 24 (Nilsen); p.
71:21—p. 72:2.

At this meeting the faculty also expressed concern about liability, including
personal liability. v. 24 (Nilsen); p. 70: 13-17; v. 31 (Baksa); p. 220:1-14:
v. 13 (Miller); p. 32:18—p. 34:10; Bonsell got the impression that teachers
believed ID was Creationism and did not want to teach it and did not want
to be sued. v. 32 (Bonsell); p. 117:13-21.

At the meeting, the administration sought to find a compromise position
between Buckingham’s desire that the text be used in instruction and the

teachers’ desire not to use the book in the classroom—and the administration

67
323.

324.

325.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 19 of 26

proposed that Of Pandas be a reference text made available to students in
the classroom. v. 14 (Spahr); p. 24:1 1—p. 25:5.

The faculty indicated that they would use Of Pandas as a reference text in
their classrooms and the teachers, administration, and board received
accolades from the press. v. 24 (Nilsen); p. 6925—p. 70:7: v. 8 (Jeff
Brown); p. 92:23-p. 93:7; v. 13 (Miller); p. 34:16p. 35:2.

The science faculty also indicated they would make students aware of gaps
and problems in evolutionary theory. v. 32 (Bonsell); p. 118:7—15.

Nilsen did not know the contents of Of Pandas but learned that teachers had
a concern that science was dated and that the text would be difficult for
ninth graders to read. v. 24 (Nilsen); p. 77:13-78:5; v. 13 (Miller); p.
30:2—p. 32:17.

In an effort to allay faculty concerns about liability, Nilsen distributed an e-
mail containing information from the solicitor. v. 24 (Nilsen); p. 70:18-24.
The board also asked Baksa to check regarding use of the text, Of Pandas,
and to see if there had been any litigation involving ID, and Baksa had his
staff collected information on the book and did some checking himself,

learning that the text had been used in public schools, including an AP

68
326.

327.

328.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 20 of 26

biology class. v. 31 (Baksa); p. 220:8—14; p. 221:23—p. 226:6. D 32, 33, 34,
35, 36, 37, 38, 39, 40, 41, 42 & 116; v. 13 (Miller); p. 33:5—p. 34:10.
Nilsen also handed out a draft curriculum referencing ID which Baksa had
developed as a result of the BCC meeting held on 6/24/04, and Spahr
reacted angrily stating that they [the teachers] had never been in it. v. 31
(Baksa); p. 218:23—p. 219:25; After the June 24, 2004 meeting of the BCC,
Baksa believed that the teachers also agreed that they would make students
aware of Intelligent Design in response to his suggestion that they mention
ID instead of Creationism. v. 26 (Baksa); p. 122:10—15; p. 123:7—p. 124:11;
D 20 [at note “mention other theories of evolution including but not limited
to intelligent design.”] & D 19 [at note “mention Intelligent Design instead
of Creationism.”’].

Buckingham left the BCC meeting early and Bonsell took that opportunity
to let the teachers know that Buckingham was only one person on the board
and not everybody always agrees with Buckingham. vy. 32 (Bonsell); p.
117:2—p. 118:6.

Another result of meeting was that Baksa was charged to consult with the

teachers and BCC to develop a curriculum modification that would reflect

69
330.

331.

332.

333.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 21 of 26

use of Of Pandas. v. 24 (Nilsen); p. 70:25—p. 71:5; v. 31 (Baksa); p.
218:20—p. 219:25.

After developing curriculum language, Baksa was going to send it to the full
board for review. v. 31 (Baksa): p. 221:15—22.

The tone of this meeting was generally positive. v. 13 (Miller); p.
35:22-25.

Curriculum Developments Between August 27, 2004 BCC Meeting and
October 4, 2004 Board Meeting.

After the August 27, 2004 board meeting, Baksa worked with science
faculty and BCC members on a contemplated curriculum change that would
take into account the use of Of Pandas in connection with instruction
concerning evolutionary theory. v. 24 (Nilsen); p. 73:9-17.

Baksa and Nilsen communicated in general about this process. v. 24
(Nilsen); p. 73:9-17.

Baksa generated a draft curriculum change, that was reviewed by the
science faculty, which he forwarded to the BCC and entire board as per the
August 27, 2004 meeting of the BCC in an effort to develop a agreement
between the board and teachers concerning the curriculum. v. 31 (Baksa);

p. 232:23-237:14; D 43 & 44; v. 32 (Bonsell); p. 118:23-p. 121:15.

70
334.

335.

336.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 22 of 26

On or about September 22, 2004, BCC member Casey Brown provided a

memo to Baksa offering input on the curriculum change proposed by the
science faculty. Casey Brown made two suggestions. The first provided that
“Students will be made aware of gaps in Darwin’s theory, as well as the fact
that there are other explanations for the origins of life on earth.” In the
alternative, she suggested language “Students will be made aware of gaps in
Darwin’s theory, and of the fact that there are other theories concerning the
origins of life.” D 45; v. 8 (Casey Brown); p. 26:25—p. 27:21; v. 24
(Nilsen); p. 73:18-74:6; v. 31 (Baksa); p. 237:15—p. 238:10.

Nilsen saw Brown’s suggestions as a positive effort to address the BCC’s
concerns. v. 24 (Nilsen); p. 74:7-16. Nilsen saw Casey Brown’s
suggestions as contributing toward the goal of developing a consensus
between BCC members, the science faculty, and administration. v. 24
(Nilsen); p. 75:4—p. 76:10.

Nilsen understood the board’s concerns as follows. A concern that students
be made aware of gaps in Darwin’s theory. A concern that students be made
aware of other explanations for the origins of life on earth. v. 24 (Nilsen);

p. 74:17-p. 75:3.

71
Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 23 of 26

337. Bonsell provided information to Nilsen to the effect that the curriculum
change should call for teachers to make students aware of gaps/problems. v.
31 (Baksa); p. 239: 13-18.

338. Buckingham also provided Baksa with feedback—Buckingham still wanted
Of Pandas used side-by-side with Miller and Levine; he was okay with
mentioning intelligent design. v. 31 (Baksa); p. 238:11—p. 239:12; D 31 at
59,

339. In October Cleaver learned the board was discussing possible Of Pandas as
a supplemental text; she had never heard of the text before; she spoke with
Buckingham about the text and he told her it discussed Intelligent Design
and that he believed students should have the book available to refer to;
Cleaver asked for a copy of the book and reviewed it; she believed ID was
science based upon her review of the text Of Pandas. v. 32 (Cleaver); p.

20:19—p. 22:20.
Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 24 of 26

Donation of the text Of Pandas And People.
340. Callaghan and Snook objected to any use of public funds to purchase Of

Pandas. v. 13 (Miller); p. 36:1—p. 37:9.
we
tt
to

344.

345.

346.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 25 of 26

Barrie Callaghan, Lonnie Langione, and Snook, became critics of the board,
Casey Brown believed they were politically motivated and shut her ears
when they addressed the board. v. 8 (Casey Brown); p. 13:23—p. 14:6.

Jeff Brown regarded Barrie Callaghan as irritating and believed that at time
her appearance before the school board appeared politically motivated. v. 8
(Jeff Brown); p. 85:5—12.

Later Bonsell told Nilsen that he knew of individuals willing to donate Of
Pandas. v. 24 (Nilsen); p. 72:3—13.

Bonsell’s father volunteered to donate the Of Pandas books. v. 34
(Bonsell); p. 9:17—22.

The donation was made in response to criticism that Barrie Callaghan
leveled at the board based on belief that public money would be spent on
the book; and Alan Bonsell’s father volunteered to donate the books
because he believed Callaghan’s criticism was politically motivated. v. 32
(Bonsell); p. 122:9-—p. 124:19.

Prior to Bonsell’s father volunteering, Bonsell had not spoken to
Buckingham about arranging a donation of books. v. 34 (Bonsell); p.

9:23—p. 10:1.

74
347.

348.

351.

Case 4:04-cv-02688-JEJ Document 335-3 Filed 11/23/05 Page 26 of 26

At the time Bonsell’s father made the donation, his father had made other
donations (and offers of donations) to DASD. v. 32 (Bonsell); p. 124:19—p.
125:10.

At the time Bonsell’s father made the donation, Alan Bonsell himself, had
donated books to the district. v. 32 (Bonsell); p. 125:17—-p. 126:6.

Bonsell did not tell Nilsen who was going to donate the books and Nilsen
did not ask because he was glad to receive support and save funds. v. 24
(Nilsen); p. 72:3-23. Later when another group donated books to the
district relating to the curriculum change, Nilsen likewise did not ask who
donated the books or why. v. 24 (Nilsen); p. 72:24-73:8.

Bonsell did tell others that his father had offered to donate the books. v. 32
(Bonsell); p. 125:11—13. If others contributed money to the donation that
was fine but Bonsell’s father was willing to pay even if he received no
money from anyone else. v. 33 (Bonsell); p. 130:4—16; v. 33 (Bonsell); p.
131:18-p. 132:8.

Bonsell did not contribute any money personally to the books v. 32

(Bonsell); p. 125:14-16.
